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          On behalf of JULIO A. CASTILLO, Clerk of the District of Columbia Court of Appeals,
                          the District of Columbia Bar does hereby certify that



                                     Justin Rattey
        was duly qualified and admitted on March 23, 2022 as an attorney and counselor entitled to
         practice before this Court; and is, on the date indicated below, an Active member in good
                                             standing of this Bar.




                                                                                In Testimony Whereof,
                                                                            I have hereunto subscribed my
                                                                           name and affixed the seal of this
                                                                                  Court at the City of
                                                                        Washington, D.C., on January 02, 2024.




                                                                                JULIO A. CASTILLO
                                                                                 Clerk of the Court




                                                           Issued By:


                                                                             David Chu - Director, Membership
                                                                            District of Columbia Bar Membership




   For questions or concerns, please contact the D.C. Bar Membership Office at 202-626-3475 or email
                                       memberservices@dcbar.org.
